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IN THE UNITED STATES DISTRICT COURT UINETED S725 DISTR T co Ry
FOR THE DISTRICT OF NEW MEXICO Ps HOME

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FEDERAL EXPRESS CORPORATION,

A New Mexico foreign corporation, and

SENTRY INSURANCE COMPANY, INC. bedi acd Pea pfreh.

A foreign corporation doing business in New Mexico, Chris i RQUE cy
Plaintiff, cy 0 1 02

Vv. No.: 2 7?

UNITED STATES OF AMERICA,

DON J. SVET

COMPLAINT FOR CONTRIBUTION, OR IN THE ALTERNATIVE
SUBROGATION OR IN THE ALTERNATIVE INDEMNIFICATION AND
WRONGFUL DEATH AS A RESULT OF MEDICAL NEGLIGENCE

Defendant,

 

 

 

Plaintiffs allege:

PRELIMINARY AND JURISDICTIONAL ALLEGATIONS

 

1. Plaintiffs bring this Complaint for medical negligence and wrongful death.

2. The Court's jurisdiction arises under 28 U.S.C. § 1346(b)(1), and 28
U.S.C. §1331.

3. Plaintiff Federal Express Corporation is a Delaware foreign corporation
doing business in New Mexico.

4. Plaintiff Sentry Insurance Company is a Delaware corporation doing
business in New Mexico.

5. At all times material hereto, the Defendant United States of America

owned, operated, and managed Crownpoint Indian Health Services Hospital, as an Indian
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Health Service hospital open to Native Americans and located in Crownpoint, New
Mexico.

6. At all times materia! hereto, this health service facility held itself out to be
a facility qualified to care for the decedent, Annie Morris, whose death is the basis for
this lawsuit.

7. The Plaintiffs filed a timely claim for damage, injury or death with the
United States Department of Health & Human Services. That claim has not been acted
upon and more than six months have elapsed since it was filed. Plaintiffs have exhausted
their administrative remedies,

8. Venue is proper in this district under 28 U.S.C. § 1402(b).

9. On June 18, 1997, decedent, Annie Morris, was involved in a motor
vehicle/pedestrian accident and sought care through the Crownpoint EMT Services and
Crownpoint Indian Health Services Hospital.

10. Decedent was in the emergency room at the Crownpoint Indian Health
Services Hospital from 1:07 pm until 3:35 pm, when she was pronounced dead. She was
breathing on her own, alert and oriented to person, place and time when she was first
admitted to the Emergency Room. Eight to ten attempts were made to intubate the
decedent, each unsuccessfully and no attempt was ever made to conduct a tracheotomy.
The hospital employees and/or agents failed to establish an alternative airway when they
knew or should have known that the steps they were taking to establish an airway were
insufficient and time was limited. The decedent died from lack of oxygen and was

pronounced dead at the Crownpoint Indian Health Services Hospital.
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11. The decedent could have and would have recovered from the injuries she
sustained in the accident if her airway had been properly managed.

12. _ At all times material to this complaint, the hospital employees were acting
as employees, apparent employees, agents or servants of the defendant acting within the
scope of their employment, apparent employment, agency or master-servant relationship.

13. The actions and inactions of defendant's employees were under
circumstances that the United States would be liable to the claimant if it were a private
person under the law of the State of New Mexico.

14. As aresult of the motor vehicle accident and death of the decedent, her
personal representative filed a wrongful death claim in the Navajo Nation District Court
against Federal Express, Jeff Deemy, and Mike Nail d/b/a M & D Service. This suit was
settled, and Federal Express/Sentry Insurance Company paid to the decedent’s family and
the personal representative of the decedent's estate a confidential settlement amount. As
part of that settlement, decedent’s family members and the Personal Representative of the
Estate of Annie Morris assigned their claims against the Defendant United States to
Federal Express and Sentry Insurance Company.

15. _ Plaintiffs Federal Express and Sentry Insurance Company seek
contribution, or in the alternative subrogation or in the alternative indemnification against
the United States for the value of the enhanced injuries suffered by the decedent as a
result of the Defendant’s negligence. In addition, the decedent’s family members and the
Personal Representative of the Estate of Annie Morris assigned to Plaintiffs any and all
claims they had against the Defendant as part of the settlement of the underlying claim.

Plaintiffs are entitled to recover from the Defendant the value of the enhanced injuries.
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COUNTI

16. Plaintiffs reallege and incorporate herein by reference all of the foregoing
allegations of the complaint.

17. In its examination and treatment or failure to treat Annie Morris,
Defendant's hospital and its employees, apparent employees, or agents failed to exercise
that degree of care, skill and learning expected of a reasonably well-qualified health care
provider in the same or similar circumstances giving due consideration to the locality.

18. Defendant's actions and inactions are actionable under the laws of the
State of New Mexico.

19. As a proximate result of the negligence and malpractice of defendant,
Annie Morris died. Plaintiffs seek to recover damages paid to decedent and her estate,
and her beneficiaries for wrongful death, negligent infliction of emotional distress, pain
and suffering, medical and nonmedical expenses, funeral expenses, lost income, lost
household services and loss of consortium.

COUNT I

20. Plaintiffs reallege and incorporate herein by reference all of the foregoing
allegations of the complaint.

21. In failing to treat and correctly and timely intubate Annie Morris and in
obtaining, training and supervising its employees and medical staff, and in promulgating
policies for operating its emergency rooms, the defendant failed to exercise that degree of
care, skill, and learning expected of a reasonably well-qualified, similar health care
provider acting in the same or similar circumstances giving due consideration to the

locality. Additionally, health care provider employees, while working within the scope
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of their employment, failed to possess and apply the knowledge, skill and care or
reasonably well-qualified, similar employees, in similar circumstances, giving due
consideration to the locality.

22. At the time of the incident that is the subject of this complaint, health care
personnel were working within the scope of their employment with the defendant.

23, Defendant is liable for the negligence of its health care personnel.

24. | Asa proximate result of the negligence and malpractice of defendant’s
employees, agents, servants and apparent agents, Annie Morris died. The negligence of
the Defendant proximately caused damages including wrongful death, pain and suffering,
medical and nonmedical expenses, funeral expenses lost income, lost household services,
negligent infliction of emotional distress, and loss of consortium.

WHEREFORE, Plaintiffs pray that the Court enter judgment for them on all
counts and that they be awarded compensatory damages plus interest, including
prejudgment interest, and such other relief as the Court finds proper.

Respectfully submitted,

JOHN SIMMS STIFF, P.C.
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ormeys for Plaintiffs

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